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                                               U.S. Department of Justice

                                               Channing D. Phillips
                                               Acting United States Attorney

                                               District of Columbia


                                               Judiciary Center
                                               555 Fourth St., N.W.
                                               Washington, D.C. 20530


                                             September 23, 2021

Eugene Gorokhov, Esq.
Burnham & Gorokhov, PLLC
1424 K Street NW, Suite 500
Washington, D.C. 20005

       Re:   United States v. Jonathan Peter Klein & Matthew Leland Klein
             Case No. 21-CR-237

Dear Counsel:

       I have uploaded to the                                       USAfx folder a
copy of evidence item E6448090 which consists of data obtained pursuant to a search
warrant served on Facebook, Inc. This item was previously produced to counsel for
Jonathanpeter Klein with other “1B” items.

      Please let me know if you have any difficulty accessing this folder or have any
questions.

                                             Sincerely,

                                             s/ Christopher K. Veatch
                                             CHRISTOPHER K. VEATCH
                                             Assistant United States Attorney




cc:   Michelle M. Sweet, Esq.
